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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )                 8:16CR152
                          Plaintiff,                      )
                                                          )
        vs.                                               )                  ORDER
                                                          )
PAUL A. HRABAN,                                           )
                                                          )
                          Defendant.                      )



        This matter is before the court on the motion to continue by defendant Paul A. Hraban (Hraban)

(Filing No. 77). Hraban seeks a continuance of the trial scheduled for November 28, 2016. Hraban's

counsel represents that government's counsel has no objection to the motion. Upon consideration, the

motion will be granted.



        IT IS ORDERED:

        1.      The motion to continue trial (Filing No. 77) is granted.

        2.      Trial of this matter is re-scheduled for January 23, 2017, before Judge Robert F. Rossiter,

Jr., and a jury. The ends of justice have been served by granting such motion and outweigh the interests

of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of

the motion, i.e., the time between November 23, 2016, and January 23, 2017, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason

that counsel requires additional time to adequately prepare the case. The failure to grant additional time

might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        DATED this 23rd day of November, 2016.

                                                          BY THE COURT:


                                                          s/ Thomas D. Thalken
                                                          United States Magistrate Judge
